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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 United States of America               :
                                        :
 v.                                     : No. 17-cr-55-4(VLB)
                                        :
 JONATHAN BROWN                         :
                                        : December 29, 2020
                                        :

  MEMORANDUM OF DECISION DENYING DEFENDANT’S PRO SE “MOTION TO
                           OBJECT”

           Before the Court is the Defendant, Jonathan Brown’s, “Motion to Object.”

Mot., Dkt. 615-1. Though Mr. Brown entitles his filing as a “Motion to Object,” it is

in substance a motion for reconsideration of the Court’s decision denying his pro

se motions. Omnibus Dec., Dkt. 605. The Court denies Mr. Brown’s motion for the

following reasons.

      I.     BACKGROUND

           The Court’s omnibus decision lays out the relevant background for this

decision.      Of importance for this decision, the Court briefly summarizes the

peculiar nature of Mr. Brown’s pro se filing though he remains represented by

counsel. In July 2020, the court received a letter from Mr. Brown directly requesting

to proceed “pro-se with the aid of counsel of record.”          Dkt. 543.   The Court

conducted a hearing to address his filing, where he explained that he wished to file

pre-trial motions that his counsel refused to file because they lacked merit. See

Articulation Order, Dkt. 560. At the hearing the Court determined that Brown was

competent to represent himself and that he knowingly and voluntarily waived his

right to representation as to the pre-trial motions he proposed to file. Id. In order
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to assess the legal merits of his claim that he was not adequately represented and

the reason for Mr. Brown’s lack of confidence in his attorney, the Court took the

unprecedented step of allowing him to file on the record the motions his counsel

would not file on his behalf. Id. The Court only authorized the filing of those

motions that Mr. Brown’s attorney refused to file at the time of the hearing.

           Mr. Brown filed fifteen motions under seven separate docket entries. Dkt.

552, 558, 565, 571, 576, 589, 591. The Government objected. Dkt. 600. The Court

denied the motions. Dkt. 605. Mr. Brown filed the subject “motion to object,” on

the basis that the Court “failed to address all of the merits of the defendant’s

constitutional issues.” Mot. The Court interprets this motion to be a motion for

reconsideration.

    II.       LEGAL STANDARD

           Local Rules of Criminal Procedure (1)(c) provides that the Local Civil Rule

7(c) applies to motions for reconsideration filed in criminal proceedings. Local

Civil Rule 7(c)(1) provides that:

           Motions for reconsideration shall not be routinely filed and shall
           satisfy the strict standard applicable to such motions. Such motions
           will generally be denied unless the movant can point to controlling
           decisions or data that the court overlooked in the initial decision or
           order. In circumstances where such motions are appropriate, they
           shall be filed and served within seven (7) days of the filing of the
           decision or order from which such relief is sought, and shall be
           accompanied by a memorandum setting forth concisely the
           controlling decisions or data the movant believes the Court
           overlooked.

    III.      ANALYSIS 1


1Though it would appear Mr. Brown’s motion is untimely because it was filed more
than seven days after the omnibus decision was filed, the untimeliness of the filing
does not affect this decision because Mr. Brown is currently detained and it likely


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      Mr. Brown seeks reconsideration claiming “[t]he District Court Judge totally

side stepped the merits of the constitutionality issues.” Mot. He cites to two

examples. First he states that “the District Court judge never addressed the issue

of 841(b) being a sentencing factor to which no constitutional protections are

attached, making it unconstitutional under Apprendi, Alleyne, Blakely, and

Haymond because Congress designed it to only come into play at sentencing after

trial ,bypassing the jury.” Mot. Second, he states that “the District Court judge

never addressed the fact that 846’s operation depends wholly on 841(b)’s

attachment because 846 doesn’t have a penalty provision.” Id.

            Mr. Brown is mistaken.      He misconstrues both the Court’s decision

and the reasoning of the cases he cites. The Court did address Mr. Brown’s

constitutional arguments. With respect to the first example discussed by Mr.

Brown, the Court did address his claim that 841(b) is an unconstitutional

sentencing factor. The Court stated that:

      Mr. Brown bases many of his motions on the incorrect assumption
      that the district court judge and not the jury would be finding facts that
      determine his guilt and statutory punishment. He further assumes
      that the burden of proof will be by a preponderance of the evidence,
      and not beyond a reasonable doubt. This assumption is incorrect.

      The jury will be tasked with determining if Mr. Brown is guilty of the
      offense charged in the grand jury indictment. The jury will be
      instructed that it may only find Mr. Brown guilty of the charged offense
      if it finds each element of the offense proven beyond a reasonable
      doubt.

      If the jury finds Mr. Brown guilty of the charged offense, the penalty
      provision of § 841(b) will be imposed based solely on the jury verdict.
      Because Mr. Brown is charged with conspiracy to distribute or


took some time for him to receive the Court’s omnibus decision and to send his
motion to his counsel to file.


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      possess with intent to distribute 1 kilogram or more of heroin, then the
      penalty provision under § 841(b)(1)(A)(i) would apply if the jury finds
      him guilty of this offense.

      Mr. Brown is partially correct in that the Court is permitted to find facts
      by a preponderance of the evidence that could affect his penalty. This
      is because a judge has authority “to exercise broad discretion in
      imposing a sentence within a statutory range.” United States v.
      Booker, 543 U.S. 220, 233, 125 S. Ct. 738, 750, 160 L. Ed. 2d 621 (2005)
      (emphasis added). But, to repeat, a court is not permitted to find any
      facts that would “increase the penalty for a crime beyond the
      prescribed statutory maximum,” Apprendi v. New Jersey, 530 U.S. 466,
      490, 120 S. Ct. 2348, 2362–63, 147 L. Ed. 2d 435 (2000), or increase the
      mandatory minimum.” Alleyne v. United States, 570 U.S. 99, 111–12,
      133 S. Ct. 2151, 186 L. Ed. 2d 314 (2013). Nor may the Court impose a
      penalty outside the statutory range based on facts not found by the
      jury. Blakely v. Washinton, 542 U.S. 296, 304, 124 S. Ct. 2531, 159 L.
      Ed. 2d 403 (2004).

      The Court rejects Mr. Brown’s argument that §§ 846 and 841 authorize
      the Court to find facts in violation of Apprendi, Alleyne, and Blakely.
      Sections 846 and 841 do not authorize a court to find facts that
      increase the statutory maximum and minimum sentence. The
      statutory penalty, if any, Mr. Brown is subject to will be determined
      from the facts found by the jury beyond a reasonable doubt, not the
      Court.

Omnibus Dec. at 14–16 (footnote omitted).

      With respect to the second example discussed by Mr. Brown, the Court did

address his constitutional claims relating to the penalty provision of 846. The

Court stated that:

      Mr. Brown argues that § 846 fails to give fair warning that the penalties
      of § 841 apply to the prohibited conduct. [Dkt. 558, 571]. The
      Government argues that § 846 is not vague because a plain reading of
      the text provides a clear statement that someone who conspires to
      commit a drug offense is subject to the same penalties as the
      substantive crime. Obj at 7.

      “No one may be required at peril of life, liberty or property to speculate
      as to the meaning of penal statutes.” Lanzetta v. State of N.J., 306 U.S.
      451, 453, 59 S. Ct. 618, 619, 83 L. Ed. 888 (1939).




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[T]he terms of a penal statute creating a new offense must be
sufficiently explicit to inform those who are subject to it what conduct
on their part will render them liable to its penalties is a well-recognized
requirement, consonant alike with ordinary notions of fair play and the
settled rules of law; and a statute which either forbids or requires the
doing of an act in terms so vague that men of common intelligence
must necessarily guess at its meaning and differ as to its application
violates the first essential of due process of law.”

Id. “As generally stated, the void-for-vagueness doctrine requires that
a penal statute define the criminal offense with sufficient definiteness
that ordinary people can understand what conduct is prohibited and
in a manner that does not encourage arbitrary and discriminatory
enforcement.” United States v. Rybicki, 354 F.3d 124, 129 (2d Cir.
2003) (citing to Kolender v. Lawson, 461 U.S. 352, 357, 103 S.Ct. 1855,
75 L.Ed.2d 903 (1983)).

“As with any question of statutory interpretation, we begin with the
text of the statute to determine whether the language at issue has a
plain and unambiguous meaning.” United States v. Epskamp, 832
F.3d 154, 162 (2d Cir. 2016). “A particular statute’s ‘plain meaning can
best be understood by looking to the statutory scheme as a whole and
placing the particular provision within the context of that statute.’” Id.

Section 846 states: “Any person who attempts or conspires to commit
any offense defined in this subchapter shall be subject to the same
penalties as those prescribed for the offense, the commission of
which was the object of the attempt or conspiracy.”
Section 846 provides sufficient definiteness that an ordinary person
reading it could comprehend the prohibited conduct—attempting or
conspiring to commit any offense defined in its subchapter. Section
846 further provides with sufficient definiteness that an ordinary
person reading it could comprehend the penalties for such conduct–
the same penalties as those prescribed for the offense. The language
of the statute sufficiently provides fair warning of penalties and
protects against arbitrary and discriminatory enforcement because a
defendant cannot be convicted unless the Government proves beyond
a reasonable doubt each element of the prohibited conduct.

Mr. Brown argues further that § 846 is unconstitutionally vague
because “any person” cannot conspire by himself.” [Dkt. 571 at 11].
Mr. Brown’s argument as to this claim is not entirely clear. If Mr.
Brown is arguing that § 846 is vague because it does not provide with
precision how many people must be involved in order for the
Government to prove a violation of that statute, that argument fails.
The plain meaning of § 846 prohibits attempt crimes, which do not



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         require an agreement with others, and it prohibits conspiracy crimes,
         which does require an agreement with others. Ordinary people
         reading this statute would understand that, when charged with
         conspiring with the other individuals named in the indictment the
         Government would be required to prove an agreement with another.

         Therefore, Mr. Brown’s motion to dismiss the indictment where he is
         named, along with other individuals, as conspiring to commit crimes
         on the grounds that section 846 is unconstitutionally vague is
         DENIED.

Omnibus Dec. at 12–14.

   IV.      CONCLUSION

         For the aforementioned reasons, Mr. Brown’s “Motion to Object” is DENIED.

         The Court has indulged Mr. Brown by allowing him to file only those motions

discussed in the July 23, 2020 hearing pro se, despite being represented by court-

appointed counsel. O'Reilly v. New York Times Co., 692 F.2d 863, 868 (2d Cir. 1982)

(“[T]he rights of self-representation and representation by counsel ‘cannot be both

exercised at the same time.’”); McCoy v. Louisiana, 138 S. Ct. 1500, 1508, 200 L. Ed.

2d 821 (2018) (providing that while some decisions are exclusively made by a

criminal defendant—such as whether to waive the right to a jury trial, to testify, and

to appeal—matters of trial management are the lawyer’s province, not the

defendant). The Court did not grant leave for Mr. Brown to file any other motions.

The Court neither authorizes nor will it entertain any further motions, objections or

other filings by Mr. Brown pro se.

         The Court found these motions lacked legal merit and thus Mr. Brown’s

attorney was not ineffective in refusing to file them. To the extent Mr. Brown’s

relationship with his attorney has broken down because his attorney refused to file

meritless motions, it would appear the breakdown is due to Mr. Brown’s refusal to



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accept the advice of competent court-appointed counsel, preferring instead to rely

upon his own unschooled and inexperienced analysis of the law.

      Mr. Brown is advised that an indigent defendant is entitled to competent

court-appointed counsel not counsel of his choice or one which agrees with him.

Luis v. United States, 136 S. Ct. 1083, 1089, 194 L. Ed. 2d 256 (2016). Though ill-

advised, a defendant may waive that right to court-appointed counsel and

represent himself. Faretta v. California, 422 U.S. 806, 95 S. Ct. 2525, 45 L. Ed. 2d

562 (1975). Should Mr. Brown wish to represent himself or request new counsel he

may file a motion to that effect. He should understand that where the breakdown

in the attorney client relationship is the indigent client’s fault, the court need not

appoint counsel as it would be futile. United States v. Doe, 272 F3d 116, 122–23

(2d Cir. 2001). Should Mr. Brown file a motion to represent himself or request new

counsel, the Court will refer the motion to a Magistrate Judge.


      IT IS SO ORDERED.

                                              __________________
                                              Hon. Vanessa L. Bryant
                                              United States District Judge


Dated this day in Hartford, Connecticut: December 29, 2020




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